                     3:07-cr-30033-SEM-KLM # 52       Page 1 of 7
                                                                                         E-FILED
                                                                Friday, 21 June, 2019 03:02:42 PM
                                                                     Clerk, U.S. District Court, ILCD

                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF ILLINOIS
                                SPRINGFIELD

UNITED STATES OF AMERICA,

             Plaintiff,

vs.                                                  Case No. 07-cr-30033

MARIO OLIEA,

             Defendant.

            RESPONSE TO MOTION FOR REDUCED SENTENCE
             UNDER SECTION 404(b) OF THE FIRST STEP ACT

      Now comes the United States of America by John C. Milhiser, United

States Attorney and Crystal C. Correa, Assistant United States Attorney and as

its response to the Defendant’s Amended Motion for a Reduced Sentence under

Section 404(b) of the First Step Act, states as follows.

      I.     The Parties Agree the Defendant is Eligible for a Reduced Sentence

      The defendant seeks and is eligible for a sentence reduction under Section

404 of the First Step Act of 2018. The government acknowledges and agrees that

the Fair Sentencing Act of 2010 (FSA) amended the penalty provisions of 21

U.S.C. § 841(b)(1)(A) and (b)(1)(B) to increase the amount of crack cocaine

involved in an offense necessary to trigger mandatory minimum (and

accompanying maximum) penalties for those convicted.



                                           1
                     3:07-cr-30033-SEM-KLM # 52       Page 2 of 7




      The First Step Act allows, but does not require, that the changes made to

the penalty provisions for “covered offenses” (certain crack cocaine distribution

offenses) in the controlled substances statutes § 841(b)(1)(A)(iii) and (B)(iii) by

section 2 of the Fair Sentencing Act of 2010 may be applied retroactively.

Specifically, § 404(a) of the First Step Act defines a covered offense as “a violation

of a Federal criminal statute, the statutory penalties for which were modified by

section 2 or 3 of the Fair Sentence Act of 2010 (Public Law 111-220; 124 Stat.

2372), that was committed before August 3, 2010.”

      On April 4, 2007, Mario Oliea was charged in a two-count indictment.

Count one charged that on September 29, 2006, the defendant knowingly and

intentionally possessed with intent to distribute five or more grams of a mixture

and substance containing cocaine base, “crack,” a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(B). Count two charged that on January 19, 2007, the defendant knowingly

and intentionally possessed with intent to distribute five or more grams of a

mixture and substance containing cocaine base, “crack,” a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1) and

(b)(1)(B). On June 7, 2007, the defendant pleaded guilty to both counts in the

indictment. (R. 10) Because the mandatory minimum sentence for possession

with intent to distribute crack was changed by the Fair Sentencing Act, the


                                          2
                     3:07-cr-30033-SEM-KLM # 52      Page 3 of 7




defendant is eligible for a reduced sentence under § 404(b) of the First Step Act.

Since the defendant’s offense was committed before August 3, 2010, it is a

covered offense as defined in § 404(a) of the First Step Act and the Court may

“impose a reduced sentence as if sections 2 and 3 of the Fair Sentencing Act of

2010 (Public Law 111-220; 124 Stat. 2372) were in effect at the time the covered

offense was committed.”

      II.     This Court has Discretion to Reduce the Sentence

      While this Court has authority to reduce the sentence as requested by the

defendant, the United States respectfully suggests that immediate release would

be a departure from the advisory guideline range even after the reduction is

made under the First Step Act, and may create a windfall not available to

similarly situated persons convicted of drug offenses under the Fair Sentencing

Act and found to be “career offenders” under Chapter 4 of the sentencing

guidelines.

      Looking specifically at this defendant, were the Fair Sentencing Act of 2010

were in effect at the time of this offense, a defendant accused of possessing this

amount of crack with no prior controlled substance offenses would face a

possible sentence of a maximum of 30 years under 21 U.S.C. § 841(b)(1)(C). Since

the defendant was found to be a career offender, with a maximum penalty of 30

years imprisonment, the guideline level for his offense would be 34, which


                                         3
                    3:07-cr-30033-SEM-KLM # 52      Page 4 of 7




would be reduced by 3 due to his accepting responsibility. A guideline level 31

and criminal history of VI would present the court with a guideline range of 188-

235 months.

      Because the defendant had felony convictions for controlled substance

offenses, the government filed a “Notice of Prior Convictions” prior to the

change of plea, listing two prior controlled substance convictions. (R. 9) Those

convictions were both for manufacture/delivery of controlled substances and

resulted in a 4 and 5-year prison sentence.

      Because of the prior convictions, the defendant faced a mandatory

minimum term of imprisonment of 10 years (120 months) and a maximum of life

imprisonment on Counts one and two. Because the defendant qualified as a

career offender, his guideline range was 262 to 327 months imprisonment.

      On October 29, 2017, the Court sentenced the defendant to a within-

guideline term of 262 months imprisonment on Counts one and two, to run

concurrently, and 8 years of supervised release on Counts one and two to run

concurrently. (R. 13)

      The defendant’s only disciplinary record includes a 2018 indicate for

possessing stolen property. Given the defendant’s good record, the government

agrees that a sentence reduction is appropriate, but a reduction to 188 months is

appropriate, rather than a sentence of time served. This would treat the


                                         4
                    3:07-cr-30033-SEM-KLM # 52       Page 5 of 7




defendant the same as all other similarly situated offenders, would recognize the

seriousness of the crime and balance the history and characteristics of this

defendant with the need to promote respect for the law and just punishment for

the offense. 18 U.S.C. § 3553(a). To the extent that this would require a short

additional time of incarceration, that could be used to prepare and adjust for

eventual release. See e.g. 18 U.S.C. § 3524(1)(“ The Director of the Bureau of

Prisons shall, to the extent practicable, ensure that a prisoner serving a term of

imprisonment spends a portion of the final months of that term … under

conditions that will afford that prisoner a reasonable opportunity to adjust to

and prepare for the reentry of that prisoner into the community.”)

      The government, therefore respectfully requests that should this Court

determine that a reduction is appropriate, that the reduction be to 188 months

but not less than time served. Further, the government recommends that the




                                          5
                   3:07-cr-30033-SEM-KLM # 52     Page 6 of 7




term of supervised release be reduced to 6 years on Counts one and two to be

served concurrently.

                                    Respectfully submitted,

                                    JOHN C. MILHISER
                                    UNITED STATES ATTORNEY

                                     /s/ Crystal C. Correa
                                    Crystal C. Correa
                                    Assistant U.S. Attorney
                                    U.S. Attorney=s Office
                                    318 South 6th Street
                                    Springfield, IL 62701
                                    Telephone: 217/492-4450
                                    crystal.correa@usdoj.gov




                                       6
                    3:07-cr-30033-SEM-KLM # 52        Page 7 of 7




                           CERTIFICATE OF SERVICE


      I hereby certify that on June 21, 2019, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following: Thomas W. Patton.


                                       /s/ Crystal C. Correa
                                       Crystal C. Correa
                                       Assistant United States Attorney




                                          7
